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               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,

 Plaintiff,                        CASE NO.: 22-CR-20009-BLOOM

 v.

 SERGIO ROMERO,

      Defendant.
 ________________________/
                               THIRD
                              AGREED
               JOINT MOTION TO CONTINUE TRIAL DATE
                     (currently July 5, 2022)

       COMES NOW the Defendant, Sergio Romero, by and through the

 undersigned attorneys, and, with the specific agreement of the

 Government through Assistant U.S. Attorney Bertila Fernandez, files

 this Third Agreed Joint Motion to Continue the current Trial Date of

 July 5, 2022 (with Calendar Call Tuesday June 28, 2022) specifically

 asking this Honorable Court for an Order continuing the trial in this

 matter, and resetting the trial for at least Sixty (60) days to allow

 undersigned attorney for Romero and Assistant U.S. Attorney

 Fernandez to continue their efforts to complete ongoing and

 prerequisite conditions and underlying efforts and, ultimately to
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 finalize a plea agreement in this case.

       A.U.S.A. Fernandez, has been in trial and has not been able to re-

 convene the Grand Jury to obtain the Superseding Indictment she has

 announced, to add other substantive charges against the Defendant

 Romero.    As of the filing of this Agreed, Joint Motion, Prosecutor

 Fernandez has again verified her intent to seek a Superseding

 Indictment in the next few weeks adding a totally different charge -- in

 substance and type.

       Unfortunately, because the new charge is independent from the

 current Possession of Child Porn charges, the Defendant will need to

 be Arraigned on the new Superseding Indictment, and the undersigned

 will need to do discovery on the new charges.

       The undersigned has continued regular and frequent contact with

 A.U.S.A. Fernandez and A.U.S.A. Lacee Monk, meeting with prosecutor

 Monk and the lead agents to continue and complete predicate actions

 needed to finalize negotiations and, ultimately, a plea agreement.

 In this regard, significant progress has been made with the serious

 and ongoing negotiations that have been underway since the very


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 inception of this prosecution. Negotiations and efforts continue, with

 further meetings planned.

         This motion is made in good faith and is neither for the purpose

 of delay nor to gain some tactical or strategic advantage;

         The defendant Romero has been held under pretrial detention

 since his arrest on this case, and he has specifically agreed to this

 continuance, understanding and specifically agreeing that all extra

 time and delay caused by this Motion to Continue would be

 excludable time.

         However, the Defendant Romero understands and agrees the

 continued investigation and preparation and negotiation of these

 charges are far more important to the Defendant at this stage. Of

 course, the Government also agrees this time would be excludable

 time.

         WHEREFORE, this court is respectfully requested to enter an

 Order granting a continuance of this matter, resetting the trial

 currently set for July 5, 2022 to a later time, hopefully at least Sixty

 (60) days.


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                                          Respectfully submitted,

                                            ___s"/Michael D. Gelety___
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                                          __s"/Barry Whitlin___
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                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the
 foregoing was filed using the Southern District of Florida’s CM-ECF
 system, and served by electronic filing this 8th day of June, 2022, to
 all Assistant U.S. Attorney Bertila Fernandez, Esq. at
 Bertila.Fernandez@usdoj.gov

                                          ___s"/Michael D. Gelety___
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